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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
__________________________________________
                                           )
UNIVERSITAS EDUCATION, LLC                 )
                                           )
                  Plaintiff                )  CIVIL ACTION NO.
                                           )  3:20-cv-00738-JAM
 vs.                                       )
                                           )
BENISTAR, et al                            )
                                           ) NOVEMBER 24, 2021
                  Defendants               )
__________________________________________)

  CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S
   MOTION FOR SANCTIONS AGAINST THE DEFENDANT TRUSTS AND THEIR
                            TRUSTEE

       The Defendants, Alliance Charitable Trust, Phoenix Charitable Trust, Atlantic Charitable

Trust, Avon Charitable Trust, and Carpenter Charitable Trusts, (hereinafter known as “the

Defendant Trusts”) by and through its undersigned counsel, and in accordance with Fed. R. Civ.

P. 7 and L. Civ. R. 7(b), hereby move for an extension of fourteen days to and including December

10, 2021, to respond to Motion for Sanctions (ECF No. 199) filed by the Plaintiff, Universitas

Education, LLC. In support thereof undersigned counsel for the Defendant Trusts states the

following:

       1.      On October 6, 2021, a discovery conference was held before the Honorable Robert

M. Spector, USMJ. Thereafter, the court ordered that any motions pertaining to issues related to

the Defendant Trusts compliance with the Court’s July 19, 2021, Discovery Order (ECF No. 162)

be filed by the Plaintiff no later than October 15, 2021, and that any response from the Defendant

Trusts be filed by October 27, 2021.
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       2.      On October 15, 2021, Plaintiff filed the present Motion for Sanctions. (ECF No.

199). In said motion, Plaintiff’s counsel argues that discovery documents at issue “are maintained

on a server owned and operated by Benistar Admin Services, Inc. (“BASI”). See Id. at 12.

       3.      Consistent with Plaintiff’s belief in its Motion for Sanctions, undersigned counsel

has attempted, in good faith, to facilitate BASI’s cooperation in complying with the Court’s July

19, 2021 Discovery Order.

       4.      Counsel for both parties and Counsel for BASI conferred, in good faith, on October

27, 2021 in order to resolve or narrow dispute that underlies the Plaintiff’s motion.

       5.      Counsel for the Trusts has obtained possibly responsive discovery from BASI and

needs more time to review prior to disclosure.

       6.      As a result of good faith discussions, the undersigned requests a 14-day extension

of time to respond to the Plaintiff’s Motion for Sanctions to determine if the discovery dispute can

be resolved or narrowed without unnecessary motion practice. Plaintiff’s counsel, Ben Chernow,

Esq. consents to the extension of time requested by the Defendant Trusts. This is the Defendant

Trusts’ second request for an extension of time with respect to the aforementioned Motion for

Sanctions.

       WHEREFORE, the Defendant Trusts respectfully move this Court to grant the within

Motion and extend the deadline for the Defendant Trusts to respond to Plaintiff’s Motion to for

Sanctions for fourteen (14) days to December 10, 2021
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                                              Respectfully Submitted
                                              THE DEFENDANTS,

                                              By: _/s/ Grayson Colt Holmes___________
                                              Grayson Colt Holmes
                                              Federal Bar No.: ct30111
                                              Ouellette, Deganis, Gallagher & Grippe LLC
                                              143 Main Street, Cheshire, CT 06410
                                              Phone: (203) 272-1157
                                              Email: gholmes@odglaw.com


                                       CERTIFICATION

        I hereby certify that on this 24th day of November, 2021, a copy of the foregoing was filed
electronically and served by mail to anyone unable to accept electronic filing. Notice of this filing
will be sent by email to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filings as indicated on the Notice of Electronic Filings.
Parties may access this filing through the Court’s CM/ECF System.



                                                      By: /s/ Grayson Colt Holmes
                                                              Grayson Colt Holmes
                                                              Federal Bar No.: ct03111
